                  Case: 24-8044
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                                           APPEALS  1   Date
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                                                             THIRD 12/11/2024
                                                                     CIRCUIT

                                                   No. 24-8044

                       Atlas Data Privacy Corporation, et al.   vs. Blackbaud, Inc., et al.

                                               ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:

 Commercial Real Estate Exchange, Inc. and Wiland, Inc.
Indicate the party’s role IN THIS COURT (check only one):
          ✔ Petitioner(s)
         ____                            ____ Appellant(s)                    ____ Intervenor(s)

         ____ Respondent(s)              ____ Appellee(s)                     ____ Amicus Curiae

(Type or Print) Counsel’s Name Stephen  M. Turner
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                                    ✔ Mr.
                                  ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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Additional E-Mail Address (3)

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SIGNATURE OF COUNSEL: s/Stephen Turner

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Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
